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8                               UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DAVID ROBINSON,                              Case No. 2:24-cv-01361-CSK
12                     Plaintiff,
13          v.                                     ORDER REQUIRING
                                                   JOINT SCHEDULING REPORT
14    WADHAH YAHYA,
15                     Defendant.
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17         This action has been assigned to Magistrate Judge Chi Soo Kim upon the

18   consent of all parties pursuant to 28 U.S.C. § 636(c). (ECF No. 8.) Defendant Wadhah

19   Yahya has answered Plaintiff David Robinson’s Complaint (ECF No. 5), and there are no

20   other named defendants in the Complaint. (See ECF No. 1.) Thus, this case is ripe for

21   scheduling.

22         Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 240, IT IS

23   HEREBY ORDERED:

24      1. Within 30 days of this order, the parties shall file a Joint Status Report addressing

25         the relevant portions of Eastern District of California Local Rule 240(a) to facilitate

26         the entry of a pretrial scheduling order. In addition to the requirements of Local

27         Rule 240(a), the parties shall also address the following in their Joint Status

28         Report:
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1                     a) The parties’ estimated length of trial, and whether the case will be tried to a

2                        jury or to the bench;

3                     b) In the proposed schedule presented pursuant to Local Rule 240(a)(11),

4                        include proposed dates for the filing of a Joint Mid-Discovery Statement,

5                        which should occur at a mid-point during the fact discovery time period;

6                        and the final pretrial conference, which should occur three to four weeks

7                        before the proposed trial date. The parties’ proposed trial date should

8                        occur approximately four to five months after the dispositive motion hearing

9                        deadline; and

10                    c) In the proposed schedule for expert disclosures presented pursuant to

11                       Local Rule 240(a)(11), include proposed dates for initial expert disclosures

12                       and rebuttal expert disclosures.

13       2. An initial pretrial scheduling conference shall be held on Tuesday, August 13,

14            2024, at 10:00 a.m. in Courtroom 25.

15       3. The parties are directed to Judge Kim’s Civil Standing Orders, which are located

16            on the Court’s website at www.caed.uscourts.gov (select “Judges,” then select

17            Magistrate Judge Chi Soo Kim). The parties should take note of the page limits for

18            civil motions and discovery joint statements. The parties are responsible for

19            knowing and complying with the Court’s standing orders.

20       4. The parties are reminded of the Local Rule 240(b) requirement to submit a

21            proposed discovery plan within fourteen (14) days of the parties’ discovery

22            conference.

23       5. The parties are further reminded of their continuing duty to notify the Court

24            immediately of any settlement or other disposition. See Local Rule 160.

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26   Dated: June 27, 2024

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